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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK




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                                        :
           IN RE: APPLICATION OF CITY   :
           OF ALMATY FOR ORDER TO TAKE :           16-MC-623 (WFK)(JO)
           DISCOVERY PURSUANT TO        :
           28 U.S.C 1782                :          January 13, 2017
                                        :
                                        :          Brooklyn, New York
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                   TRANSCRIPT OF CIVIL CAUSE FOR ORAL ARGUMENT
                       BEFORE THE HONORABLE JAMES ORENSTEIN
                          UNITED STATES MAGISTRATE JUDGE

           APPEARANCES:

           For the Plaintiff:               ROBERT MALIONEK, ESQ.




           For the Defendant:               JOHN KENNEY, ESQ.
                                            JOHN CURLEY, ESQ.

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    1                 THE CLERK:     Civil cause for status

    2   conference, docket number 16-MC-623, In Re:

    3   Application of the City of Almaty.

    4                 Will the parties please state your

    5   appearances for the record?

    6                 MR. MALIONEK:      Robert Malionek or Latham &

    7   Watkins for the City of Almaty.

    8                 THE COURT:     Good morning.

    9                 MR. MALIONEK:      Good morning.

   10                 MR. KENNEY:      John Kenney and John Curley

   11   with Hoguet Newman Regal & Kenney for the RMP

   12   partnerships.

   13                 THE COURT:     Good morning.       Before we get to

   14   the issue of fees, I just want to confirm that the

   15   discovery that was ordered has been provided.

   16                 MR. MALIONEK:      The discovery that was

   17   ordered was for our 1782 application to go forward.

   18   Documents have been produced.           We do intend to serve a

   19   notice of deposition.         That was part of the original

   20   application that was granted.

   21                 THE COURT:     Right.

   22                 MR. MALIONEK:      So we’ll be asking for the

   23   PMK depositions, we assume, of Elvira Krapanoff (ph)

   24   and others but we’ll be serving that soon.              We’re just

   25   in the process of reviewing the documents first.                Thank
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    1   you.

    2                 THE COURT:     All right.      I take it there’s no

    3   dispute about the deposition going forward?

    4                 MR. KENNEY:      Not at the moment.       We don’t

    5   expect one.

    6                 THE COURT:     Very good.      If anything comes up

    7   in that regard, of course you’ll let me know.               Let’s

    8   get to the issue of fees.

    9                 Mr. Malionek, I’ve read the papers and I may

   10   have some questions but if you want to add anything to

   11   your submission, I’ll hear you.

   12                 MR. MALIONEK:      I think, your Honor, I’ll try

   13   to be brief then.       As you know, and we’ve never

   14   actually had the opportunity to brief the background of

   15   the case, but the City of Almaty is an interested party

   16   pursuant to the criminal proceedings against the

   17   Krapanoff family.       Victor Krapanoff was the mayor of

   18   Almaty and his family have been accused -- warrants

   19   have been issued for the arrest of members of his

   20   family.     They were running a criminal enterprise and

   21   had stolen and then laundered perhaps 300 million

   22   dollars of funds through real estate, through U.S.

   23   banks.    The 1782 application that we filed was our

   24   effort on behalf of the city to try to locate the funds

   25   that were laundered, we understand, through the RPM
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    1   entities that are the defendants in this action.

    2                 We filed the application in March.            It was

    3   granted right away.        Then the motion to vacate had been

    4   filed.    It was briefed and submitted in June and then

    5   in October, as you know, your Honor, a hearing was --

    6   the parties were asked for dates to appear for a

    7   hearing on the 1782 application.            We understood at that

    8   point that RPM’s prior counsel was going to seek to

    9   withdraw and then Mr. Kenney was planning to substitute

   10   in.   We understand that RPM, from the motion to

   11   withdraw, was not paying over $100,000 in RPM’s fees.

   12                 At the status conference on November 17 th --

   13   that was three weeks later -- we prepared our

   14   presentation with respect to all issues in the case,

   15   including as necessary on the motion to vacate with

   16   respect to the 1782.        Your order was for a principal or

   17   officer of each of the RPM entities to attend.                Of

   18   course, we prepared and they failed to appear.                You

   19   issued a status conference for the next day with the

   20   same instructions.        Again, we prepared and they failed

   21   to appear.

   22                 At that point, Mr. Kenney substituted in and

   23   they withdrew their motion to vacate without giving us

   24   prior notice other than the evening before that

   25   November 18 th status conference.          You recognized, your
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    1   Honor, that we were free to seek sanctions with respect

    2   to the costs incurred in the -- as caused by the

    3   failure of the principals or officers to appear as well

    4   as with respect to the litigation burdens in opposing

    5   what ultimately became an abandoned motion.

    6                 The standard under Rule 16(f) states that

    7   the Court must order a disobeying party, a party who

    8   fails to appear, to pay the reasonable costs including

    9   attorneys’ fees.       The burden is on the disobeying party

   10   to show that a sanction would be unjust or the conduct

   11   was substantially justified.          We think that the

   12   defendants can’t meet their burden here.

   13                 With respect to the conferences, the

   14   defendants’ principals or officers failed to attend two

   15   consecutive status conferences, forcing the City of

   16   Almaty to incur costs related to the prep and travel,

   17   without any substantial justification.             Defendants

   18   argue in their response papers that they understood the

   19   principals were not required to attend, but the Court’s

   20   orders were unambiguous with respect to that.               We think

   21   they could not have been more clear.

   22                 The letter that was submitted by Elvira

   23   Krapanoff, who is the principal for RPM-Maro,

   24   acknowledged knowing about the orders and even that

   25   their prior counsel had instructed her three weeks
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    1   before the hearing that failing to appear wouldn’t be

    2   acceptable, in all likelihood.           No explanation has ever

    3   been provided by RPM U.S.A. for their failure to appear

    4   and under the rule, the sanctions include all expenses

    5   incurred because of the noncompliance, so everything

    6   flowing from the sanctionable conduct.             Here, they’re

    7   abandoning their motion without prior notice, forcing

    8   us to prepare, as well as their failure to appear at

    9   the status conferences.

   10                 As to the briefing, the defendants wasted

   11   the Court’s time, the City of Almaty’s time in

   12   litigating and preparing for a motion to vacate,

   13   including at those November status conferences that was

   14   ultimately simply abandoned.          Their only explanation

   15   for doing this is that there was a ruling that came out

   16   in June in an unrelated case that the City of Almaty is

   17   not involved in.       And after that ruling came out on a

   18   joinder issue, it no longer made sense, they say, to

   19   resist the subpoenas.         That was in June.

   20                 They failed to explain why they neglected to

   21   tell the Court or the City of Almaty for five months

   22   that they were then planning on withdrawing their

   23   motion to vacate.       They didn’t say that they were

   24   planning to do so when the Court asked the parties to

   25   schedule a hearing.        They didn’t say they were planning
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    1   to do so when the Court scheduled the November status

    2   conferences.      They didn’t even say anything at the

    3   November 17 th hearing, which forced the City of Almaty

    4   to incur additional costs related to the preparation.

    5   We think that for all of those reasons, they don’t meet

    6   their burden of showing that an award under these

    7   circumstances would be unjust.

    8                 The second issue that the defendants take up

    9   in their papers is that the City of Almaty’s fees and

   10   costs are unreasonable here.          The fees and costs that

   11   we seek are less than $100,000, $89,000 in fact.                The

   12   standard of the Second Circuit is, what would a

   13   reasonable client be willing to pay to prosecute this

   14   particular case?       Here, there’s no better evidence, we

   15   think, than what the defendants’ own counsel’s fees

   16   have been for just a portion of what the city is

   17   seeking in this case.

   18                 Prior counsel stated in their motion to

   19   withdraw that it was owed over $100,000.              That did not

   20   include the amount that they had already subtracted

   21   because of the retainer.         It did not include the

   22   preparation and the attendance at the status

   23   conferences.      It did not include any costs related to

   24   preparing this motion, this application seeking our

   25   costs.
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    1                 It’s also clear under the Second Circuit’s

    2   precedent that a Rule 16 sanction and the sanctions

    3   that are allowed under this Court’s inherent authority

    4   also can be used as penalties or as a deterrent.                Under

    5   the Mahoney case, for example, the Court can take into

    6   account the financial situation of the disobeying

    7   parties and found that it’s reasonable and particular

    8   to take into account the amount that they themselves

    9   spent for their own counsel’s defense in a case.

   10                 Here, keep in mind please that the

   11   defendants are accused of participating in money

   12   laundering of hundreds of millions of dollars of the

   13   city’s funds.      We have started to see evidence of the

   14   documents that we’ve started to review.

   15                 THE COURT:     One moment.      Go ahead.

   16                 MR. MALIONEK:      The cases that the defendants

   17   cite we think are all with respect to inapposite

   18   circumstances.       They cite cases, for example, where

   19   sanction awards were reduced or attorneys’ fees were

   20   reduced because the party seeking the sanctions made no

   21   effort to provide what the professional qualifications

   22   were of the attorneys that were involved.              They cite to

   23   cases with respect to block billing, in which the court

   24   was unable to determine what amounts within a block

   25   bill were related to the sanctionable conduct, whereas
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    1   here, we’ve already deducted and redacted out anything

    2   that is unrelated to just those fees for which we seek

    3   the sanctions.

    4                 Here, we also already deducted some of the

    5   City of Almaty’s costs, including -- we’ve deducted Mr.

    6   Schindler’s return trip back to L.A. by half.               We

    7   haven’t asked for any sanctions related to the

    8   preparation time for the November conferences that were

    9   incurred by the associates who are involved in the

   10   case.     We’ve excluded any of the fees related to

   11   preparation for this hearing.           So think for all of

   12   those reasons, a sanction is appropriate and the fees

   13   that the city are seeking and costs are reasonable.

   14   Thank you.

   15                 MR. KENNEY:      Thank you, your Honor.        I’ll

   16   try to be brief.       I realize that you’ve read the

   17   papers.     I do have to mention a couple of things in

   18   light of the argument that was just made.              Let me start

   19   with RPM’s partnerships.

   20                 I’m not sure that the Court is aware that

   21   these are both limited partnerships and they’re

   22   designed -- and it’s a fairly commonly design for banks

   23   and investment individuals and partnerships investing

   24   in other countries from the U.S. to another country,

   25   another country to her, and that’s what these are.
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    1    They were designed to receive money from abroad and to

    2    invest in certain entities.          The Moro one was for the

    3    benefit of the daughter of the Krapanoff family, who

    4    you’ve heard about and lives in California, has a

    5    family there and a small business and three children.

    6    None of these entitles have any staff or have done any

    7    activity in the last -- I think since 2014.              So that’s

    8    the status.

    9                  As to Kazakhstan, what’s being left out is

   10    that Kazakhstan is run by a dictator who runs all three

   11    branches of government.         Our client and other members

   12    of his family are political dissidents.             The father,

   13    Victor Krapanoff, has requested political asylum in

   14    Switzerland.     The Kazakhstan government, through Almaty

   15    and other entities, have brought lawsuits against this

   16    family in Los Angeles, in the Southern District of New

   17    York, with a RICO which was -- the RICO parts were just

   18    dismissed.     The Los Angeles case was dismissed and is

   19    on appeal.

   20                  The Latham firm is handling the Los Angeles

   21    case.    The Boyz (ph) firm is handling the case here.

   22    That dismissal is -- they’re requesting a certification

   23    to appeal.     Cases have been brought in Great Britain,

   24    Switzerland.     There are criminal investigations that

   25    have been started in various places.            So what we have
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    1    is a political battle.        The case in the Southern

    2    District was dismissed because the RICO counts --

    3                  THE COURT:     I’m sorry to interrupt, sir, but

    4    there’s no political battle in this Court.              It’s simply

    5    a matter of -- it’s a very narrow issue and I have no

    6    intention of weighing in on who’s right or wrong as

    7    between the various litigants on any of the merits

    8    here.    It’s just a matter of --

    9                  MR. KENNEY:     I was just responding --

   10                  THE COURT:     Yes, and I’m not taking into

   11    account anything about the backdrop, particularly the

   12    political backdrop.

   13                  MR. KENNEY:     So far --

   14                  THE COURT:     You can address the motion

   15    that’s before me, though.

   16                  MR. KENNEY:     So far as I know, your Honor,

   17    only partly in the motion that (ui) responded to has

   18    there been any response to that, and I just didn’t want

   19    to leave that on the record without any response.

   20                  THE COURT:     I’ll tell you what.        Anything

   21    that you want to say about the political aspects of

   22    this, feel free to expand the record by submitting your

   23    political views --

   24                  MR. KENNEY:     Sure.

   25                  THE COURT:     -- on behalf of your client in a
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    1    separate mailing, okay?         But let’s address the motion

    2    here.

    3                  MR. KENNEY:     I will do that, your Honor.          So

    4    let me address Elvira Krapanoff.           She uses her married

    5    name, as you know from the letter that you received,

    6    but we’ll call her Krapanoff because it will show the

    7    connection more easily.

    8                  The proceeding here is a request for

    9    interrogatories which was ex parte and granted, as your

   10    Honor knows.     The hearing that we’re talking about was

   11    not, as we understood it, a hearing for oral argument.

   12    It was a status conference and it was ordered by the

   13    Court on the same day, October 27 th , that the Morville

   14    firm indicated it wished to withdraw.             We appeared on

   15    the 17 th , frankly as a courtesy to the Court and to let

   16    you know we would represent them but we hadn’t been

   17    retained at that time, so we filed our notice of

   18    appearance the following day, on the 18 th .

   19                  The Court may impose sanctions for failure

   20    to appear provided there’s not a reason why -- the

   21    Court isn’t required to impose sanctions.              We will

   22    argue in a minute that the only sanctions or fees that

   23    should be imposed are for the second day of the

   24    hearing.    I’m going to put that aside just for a

   25    minute.
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    1                  In terms of Elvira Krapanoff’s conduct, she

    2    did know that you had issued an order on the 27 th that

    3    she was to appear.       The circumstances are -- I think

    4    this is important for the Court to take into

    5    consideration.      Her counsel that had been representing

    6    her had filed a request to withdraw.            Her new counsel,

    7    which she -- we had spoken with her and she knew we

    8    were available but had not yet been retained and had

    9    not yet filed a notice of appearance.             In effect, she

   10    didn’t have any counsel.         She did have counsel --

   11                  THE COURT:     I’m sorry, I cannot agree with

   12    that and I’m sure you know that that’s not true.                She

   13    had --

   14                  MR. KENNEY:     Well --

   15                  THE COURT:     Excuse me, sir.

   16                  MR. KENNEY:     Yeah.

   17                  THE COURT:     She had counsel of record who

   18    was seeking to withdraw.

   19                  MR. KENNEY:     Yes.

   20                  THE COURT:     As I did then and as I always do

   21    in such circumstances, I required counsel and client

   22    together to appear so that I can discuss the motion

   23    with them.     She was not without counsel.

   24                  MR. KENNEY:     The point that I’m making is

   25    not that she’s not without counsel.            She had at least
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    1    some inability to get the legal advice that she needed,

    2    and she went to another lawyer who represented her in

    3    the Los Angeles case --

    4                  THE COURT:     Look, of all the aspects of the

    5    motion before me --

    6                  MR. KENNEY:     Yes.

    7                  THE COURT:     -- the idea that your client had

    8    an excuse for not appearing as directed at that first

    9    conference is I think the least likely to persuade me.

   10    So I encourage you to move on to other aspects but I

   11    will of course hear you out.

   12                  MR. KENNEY:     Well, I’ll be brief.        The point

   13    that I want to make is, she did go to counsel in Los

   14    Angeles.     The counsel in Los Angeles did send an email

   15    to Morville’s firm seeking to have her appear by

   16    telephone.     She says that in the letter of the 17 th and

   17    that should go to some weight at least, not as an

   18    excuse -- she says in here letter, I apologize but I

   19    didn’t intend to do this.         I thought because lawyers

   20    were going to appear, that there was no issue and I

   21    would not have to appear.

   22                  THE COURT:     But I can’t imagine that any

   23    lawyer, yourself or anyone else, would have told a

   24    client or potential client, you can assume you don’t

   25    need to follow this order, even without hearing from
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    1    the Court.     Every responsible lawyer in that

    2    circumstance would say, look, I’m going to do my best

    3    to get you out of this but you’ve got an order and

    4    until we get an order vacated, you need to comply.

    5    That would have been your advice, certainly.

    6                  MR. KENNEY:     I don’t disagree with you but I

    7    am a lawyer.     I know what my advice would be.

    8                  THE COURT:     Right.    Look, either she was

    9    getting advice from lawyers or she wasn’t.              If she

   10    wasn’t, she just had an order and she had to comply.

   11    If she was, I know what the advice must have been or

   12    should have been.       But in any event, she had an

   13    obligation.     I do request, most respectfully, that you

   14    move on to something else because --

   15                  MR. KENNEY:     I’m happy to.

   16                  THE COURT:     At best, we’re going to disagree

   17    on this one.

   18                  MR. KENNEY:     Yes.    So I’ve made my point.

   19                  THE COURT:     Yes.

   20                  MR. KENNEY:     And I fully understand your

   21    Honor, so we’ll turn to costs.           The order that your

   22    Honor issued was to have a status conference.               The

   23    order was not to have oral argument on an outstanding

   24    motion.    We understood when we read the papers

   25    afterwards that your Honor wanted to have counsel and
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    1    wanted to make sure that if you granted the motion to

    2    withdrawn, that there would be other counsel and the

    3    case would move forward.         That’s why we showed up in

    4    the courtroom.

    5                  The only expense that the Latham firm went

    6    to was to come back the second day, which we agree and

    7    we’ve told them, we’d be happy to see your costs on

    8    that and pay for that.        We don’t think we should be

    9    paying for and we don’t think there’s any connection

   10    between the failure to appear and the briefing of that

   11    motion.    The motion had been presumably mostly briefed

   12    prior to the time -- the motion was fully briefed on

   13    the 2 nd of June and we don’t understand why somebody

   14    would go to great lengths to get the motion ready when

   15    they were appearing for a status conference and it

   16    wasn’t clear who the counsel was going to be on the

   17    other side.     That’s why we don’t think that our client

   18    should be -- that those costs should be imposed on it.

   19                  What they have is, they want $90,000,

   20    essentially, a few dollars less than that.              That’s

   21    $56,000.    $20,000 also is in preparation for that

   22    motion, which wasn’t scheduled for oral argument so far

   23    as we know.     Certainly, we looked at the order to see

   24    if we had substituted, if we’d have to be ready to

   25    argue the motion.
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    1                  THE COURT:     None of it would have been

    2    required -- there wouldn’t have been a penny of these

    3    costs that are at issue now if your client hadn’t made

    4    the motion to vacate, right?

    5                  MR. KENNEY:     Sure.

    6                  THE COURT:     Okay.     And I take it as a legal

    7    proposition, you agree that if that motion was made for

    8    purposes of delay and harassment, the fees can be

    9    awarded, correct?

   10                  MR. KENNEY:     Yes, if there was a basis to

   11    make such a finding.

   12                  THE COURT:     Okay, so that’s really the

   13    issue.    You’re saying that the motion to vacate was

   14    made in good faith and that as of mid-June -- I forget

   15    the exact date --

   16                  MR. KENNEY:     Right.

   17                  THE COURT:     -- based on Judge Nathan’s order

   18    in a case, in which none of the parties here is a

   19    party, is that correct?

   20                  MR. KENNEY:     No.     Almaty is the plaintiff.

   21                  THE COURT:     In the Judge Nathan case.

   22                  MR. KENNEY:     In the Judge Nathan case.

   23                  THE COURT:     Okay.

   24                  MR. KENNEY:     And Victor and Ilius (ph)

   25    Krapanoff are defendants, the father and brother.
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    1                  THE COURT:     Okay.

    2                  MR. KENNEY:     But not (ui).

    3                  THE COURT:     You’re saying as a result of the

    4    ruling in that case, your clients, who are not parties

    5    there, decided that they would no longer resist

    6    discovery in this case.

    7                  MR. KENNEY:     No.

    8                  THE COURT:     No, okay.     I misunderstood your

    9    position then.

   10                  MR. KENNEY:     What we’re saying is, in part,

   11    that’s true.

   12                  THE COURT:     So it is true.

   13                  MR. KENNEY:     No.    That’s a piece of the

   14    judgment.     That’s a piece of the judgment.

   15                  THE COURT:     But that piece of it is correct,

   16    that they were resisting before.

   17                  MR. KENNEY:     Yes.

   18                  THE COURT:     In good faith.

   19                  MR. KENNEY:     Yes.

   20                  THE COURT:     And that as a result of Judge

   21    Nathan’s decision, they decided not to resist.

   22                  MR. KENNEY:     As a result of Judge Nathan’s

   23    decision joining them in that case --

   24                  THE COURT:     Yes.

   25                  MR. KENNEY:     -- they decided that since that
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    1    allowed third party subpoenas, for which there wouldn’t

    2    be the same basis to oppose as the motion to vacate, we

    3    should consider that among other things as to whether

    4    we wanted to go ahead with the motion to vacate.

    5                  THE COURT:     When was the decision made to no

    6    longer resist?

    7                  MR. KENNEY:     The decision to no longer

    8    resist was discussed at great length --

    9                  THE COURT:     When was it made, sir?

   10                  MR. KENNEY:     It was made on the 17 th or 18 th .

   11                  THE COURT:     Of?

   12                  MR. KENNEY:     Of November.      I’d like to --

   13                  THE COURT:     I’m going to ask you to pause

   14    for a moment.

   15                  MR. KENNEY:     Sure.

   16                  THE COURT:     I want to take a look at your

   17    document.

   18                  (Pause in proceedings.)

   19                  THE COURT:     Page 2 of your letter of

   20    December 29 th , at the end of the third paragraph under

   21    section heading number 2.

   22                  MR. KENNEY:     Yes.

   23                  THE COURT:     “After the RPM entities moved to

   24    quash here, Judge Nathan granted a joinder motion on

   25    June 21 st , 2016 that expended the scope of the Southern
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    1    District action and made third party discovery toward

    2    the RPM entities more likely.”

    3                  MR. KENNEY:     Yes.

    4                  THE COURT:     “At that point, it no longer

    5    made sense to resist the subpoenas.”

    6                  MR. KENNEY:     Yes.

    7                  THE COURT:     But you’re saying, having

    8    determined that at that point, it no longer made sense

    9    to resist, the decision to actually stop resisting was

   10    not made until November.

   11                  MR. KENNEY:     Yes.    Well, let me make clear

   12    we didn’t --

   13                  THE COURT:     So your client persisted --

   14                  MR. KENNEY:     Wait just a second.

   15                  THE COURT:     -- in pressing a motion that no

   16    longer made sense for them for those five months?

   17                  MR. KENNEY:     Well, there are a number of

   18    pieces missing there.        We didn’t represent this client

   19    until November 18 th , so we talked to them and we and

   20    then made the decision.         We knew about --

   21                  THE COURT:     I’m sorry, Mr. Kenney, but this

   22    is somewhat frustrating because it seems to be moving

   23    the goalpost in terms of what your client is asserting

   24    as just not a reason but as to what happened.

   25                  MR. KENNEY:     Let me --
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    1                  THE COURT:     And I can’t resolve, I don’t

    2    think, these factual issues at this point about who

    3    made the decision and when and on what basis without

    4    factually getting evidence from the clients and the

    5    attorneys who advised.        I don’t want to intrude on the

    6    privilege but if you’re saying that it no longer made

    7    sense to resist as of June 21 st but the decision to stop

    8    resisting wasn’t made until November 17 th , I have a lot

    9    of questions that need to be answered and among them

   10    are facts -- the absence of any indication that they

   11    would no longer resist discovery, the fact that they

   12    didn’t provide the discovery in the intervening months,

   13    statements in the motion to withdraw that are wholly

   14    inconsistent with a belief that resisting the subpoena

   15    no longer made sense.        Frankly, I have some real

   16    reservations about the veracity of the assertion.

   17                  MR. KENNEY:     Let me make a proffer if I may.

   18                  THE COURT:     And I need to resolve those

   19    before I can give some credit to the position you’re

   20    taking.

   21                  MR. KENNEY:     May I make a proffer?

   22                  THE COURT:     You’ve already done so but go

   23    ahead, make some more proffers.

   24                  MR. KENNEY:     I’m arguing but now I’m saying

   25    if you have a hearing, this is what you’ll find out.
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    1                  THE COURT:     Yeah.

    2                  MR. KENNEY:     We did not get in this case and

    3    make decisions with the client until the 17 th and 18 th

    4    of November.     We are the law firm that made the

    5    decision not to go forward with the motion.              There were

    6    a number of reasons that I can tell you because I was

    7    there and I had the phone calls, but I didn’t have any

    8    authority and I didn’t represent this client in this

    9    case between June and November, so I wasn’t

   10    participating at that time and I don’t know what they

   11    thought.

   12                  I’m telling you what I thought, and what I

   13    thought was, you have this other case where they can

   14    get the same stuff now.         They haven’t yet, maybe they

   15    wouldn’t.     It’s costing $100,000.        We’re the second

   16    firm to come into this case.          Obviously, we don’t want

   17    to continue along this range.          Any decision made by the

   18    Court in this case was almost certainly going to be

   19    appealed no matter how it came out.

   20                  We looked at the documents or waked through

   21    the thing.     We decided it was more practical to

   22    withdraw the motion and produce the documents and have

   23    the deposition than it was to go forward.              We had this

   24    discussion with our client.          The client agreed and

   25    that’s why we suggested withdrawing the motion.               We
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    1    asked the Latham firm if they would consent.              They

    2    refused to consent so we came in and asked the Court if

    3    we could make a motion to withdraw.            It had nothing to

    4    do with what sanctions the Court might impose.

    5                  THE COURT:     Why didn’t I hear about that in

    6    the first communication from your client saying, sorry,

    7    I can’t be there?

    8                  MR. KENNEY:     I don’t recall but I think the

    9    answer to that is, we hadn’t fully made that decision.

   10                  THE COURT:     But you’re telling me that

   11    that’s the date the decision was made.

   12                  MR. KENNEY:     Either the 17 th or 18 th .

   13                  THE COURT:     I see.    It’s disturbingly

   14    malleable, Mr. Kenney.

   15                  MR. KENNEY:     We were discussing it, Judge.

   16                  THE COURT:     I see.

   17                  MR. KENNEY:     And then when we came in on the

   18    18 th , we had decided that --

   19                  THE COURT:     And no hint of that in the

   20    letter of November 17 th from your client.

   21                  MR. KENNEY:     I wouldn’t expect there would

   22    be.

   23                  THE COURT:     No.   All right, well --

   24                  MR. KENNEY:     I don’t think she’s going to be

   25    saying, we’re thinking about withdrawing the motion.
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    1    She’s our client.

    2                  THE COURT:     As far as you know -- do you

    3    know one way or the other if your client had any such

    4    discussions with prior counsel?

    5                  MR. KENNEY:     I don’t know.

    6                  THE COURT:     This is frankly, Mr. Kenney,

    7    very troubling.

    8                  MR. KENNEY:     I’m more than happy to answer

    9    any questions the judge might have in mind to put you

   10    at ease, if I can.

   11                  THE COURT:     My questions are about when this

   12    decision was purportedly made.

   13                  MR. KENNEY:     Right.

   14                  THE COURT:     Because the way it looks to me

   15    right now, the only thing that seems to be consistent

   16    with the objective facts on the record in terms of what

   17    was said by whom and when is that the statement that we

   18    decided only on November 17 th to withdraw the motion is

   19    less plausible than the proposition that the motion to

   20    vacate was made for purposes of delay and harassment,

   21    because had the motion been deemed unwise or futile in

   22    June, I would expect for any number of reasons the

   23    docket to look very different than it does.              The

   24    questions I would want to ask are questions that need

   25    to be posed to your client, to former counsel, to
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    1    yourself under oath.        We can have that here and if

    2    necessary to resolve this issue, we will.

    3                  MR. KENNEY:     All I can tell your Honor is, I

    4    was not representing the client before the 17 th of

    5    November, so I don’t know what they were thinking or

    6    their lawyers were thinking.          I wasn’t a participant in

    7    that.

    8                  THE COURT:     Of course you weren’t a

    9    participant.     Well, not of course.         I’ll take your word

   10    for it that you weren’t a participant.

   11                  MR. KENNEY:     We knew this was going on.

   12                  THE COURT:     These questions I think would be

   13    apparent to anyone looking at this record.              And the

   14    fact that you didn’t represent your client before

   15    November 17 th doesn’t mean you’re unable to ask her

   16    about what happened before November 17 th .           But

   17    apparently you have not done so and maybe there’s some

   18    reason not to have done so.          But in any event, if this

   19    continues to be a controversy that I have to resolve,

   20    there are questions I need to have answered because the

   21    most readily apparent and most plausible explanation is

   22    one that suggests a different motive for the motion

   23    than you proffered to the motion to vacate and one that

   24    would, as you conceded, justify an award of fees for

   25    litigating the motion and all of the succeeding
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    1    appearances.

    2                  That said, I do have some concerns on the

    3    other side about the amount of fees.            We’re in the

    4    Eastern District, not the Southern District, and

    5    whatever the wisdom of the Second Circuit’s decision in

    6    Simmons saying that you have to look at Eastern

    7    District fees in such circumstances, that is the law of

    8    the circuit.     So I’m not prepared to sign off on the

    9    very high fees that I know you can demand in the

   10    Southern District.       I don’t doubt the veracity of that.

   11                  I’m wondering if it would make sense to take

   12    a break while you folks discuss two things, only one of

   13    which necessarily would be pertinent.             One is whether

   14    you can agree on a compromise that resolves this

   15    entirely, the amount to be awarded.            Secondly, if you

   16    can’t, to come up with dates for a factual hearing to

   17    resolve the questions that -- the factual questions

   18    that I’ve discussed.        Do you want to take a break to do

   19    that now or do you want to confer with each other and

   20    write back to me in a week or so?           What do you guys

   21    think?

   22                  MR. MALIONEK:      I would be happy to have

   23    those discussions over the phone and get right back to

   24    your Honor.     I think that might be the most efficient.

   25                  THE COURT:     Okay.
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    1                  MR. MALIONEK:      But we of course will follow

    2    your lead.

    3                  Mr. Kenney, I’m sorry if you have a

    4    different thought.

    5                  MR. KENNEY:     I’d be more than happy to talk

    6    about it right now and get back to you in a few

    7    minutes, if your Honor has the time.

    8                  THE COURT:     Why don’t we take a break and

    9    see if you can resolve something quickly.              If not, I

   10    don’t want to put time pressure on it.             I want to have

   11    considered decisions, so don’t feel any pressure from

   12    my end to do it that way.         If you both feel that you

   13    can, by all means, I’ll certainly wait a few minutes.

   14                  MR. MALIONEK:      Your Honor, I apologize.

   15    While we’re happy to talk about it right now, it will

   16    take some time to be able to then discuss it with our

   17    client.    I do actually respectfully think it may make

   18    sense to get back to the Court a week from now.               I

   19    don’t want to preclude us discussing it right now.                 We

   20    absolutely will.

   21                  THE COURT:     Right.    You’re saying you can’t

   22    reach an agreement because you need to run it your

   23    client.

   24                  MR. MALIONEK:      Right.

   25                  THE COURT:     That’s understandable.         I’d
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    1    understand that on either side.           So why don’t I expect

    2    a letter from you a week from today, and either you’ll

    3    tell me it’s resolved or what other possibility there

    4    is short of resolution before we go ahead and schedule

    5    a hearing.     If you guys think you haven’t resolved it

    6    but it’s not out of reach, im happy to have -- I

    7    wouldn’t want to be personally involved in trying to

    8    sponsor settlement negotiations on it because in the

    9    absence of an agreement, I’d have to come up with a

   10    number myself.      But I could refer you to court-

   11    sponsored mediation or another magistrate if that’s

   12    something you all agree on.

   13                  So let me know your preference and we’ll

   14    take it from there.

   15                  MR. MALIONEK:      Thank you, your Honor.

   16                  THE COURT:     Thank you all.      Have a very good

   17    day.

   18                             * * * * * * * * *

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   18          I certify that the foregoing is a correct

   19    transcript from the electronic sound recording of the

   20    proceedings in the above-entitled matter.

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   25   ELIZABETH BARRON                                 January 19, 2017
